                 Case 4:22-mj-70451-MAG Document 1 Filed 04/07/22 Page 1 of 12




 1 STEPHANIE M. HINDS (CABN 154284)

 2
   United States Attorney
                                                                           FILED
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division
                                                                             Apr 07 2022
 4 THOMAS NEWMAN (CTBN 422187)
   Assistant United States Attorney                                     Mark B. Busby
 5                                                                CLERK, U.S. DISTRICT COURT
          1301 Clay Street, Suite 340S                         NORTHERN DISTRICT OF CALIFORNIA
 6        Oakland, California 94612
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          Thomas.Newman@usdoj.gov
 8

 9 Attorneys for United States of America

10                                      UNITED STATES DISTRICT COURT
11                                 NORTHERN DISTRICT OF CALIFORNIA
12                                            OAKLAND DIVISION
13 UNITED STATES OF AMERICA,                          )   CASE NO. 4:22-mj-70451-MAG
                                                      )
14           Plaintiff,                               )   NOTICE OF PROCEEDINGS ON OUT-OF-
                                                      )   DISTRICT CRIMINAL CHARGES PURSUANT TO
15      v.                                            )   RULES 5(c)(2) AND (3) OF THE FEDERAL
                                                      )   RULES OF CRIMINAL PROCEDURE
16 MARIUS LACATIS,                                    )
                                                      )
17           Defendant.                               )
                                                      )
18

19           Please take notice pursuant to Rules 5(c)(2) and (3) of the Federal Rules of Criminal Procedure
20 that on April 8, 2022, the above-named defendant was arrested pursuant to an arrest warrant (copy

21 attached) issued upon an

22           Ƒ       Indictment
23           Ƒ       Information
24           x       Criminal Complaint
25           Ƒ       Other (describe)
26 pending in the Eastern District of New York, Case Number 22-MJ-94.

27           In that case (copy of indictment attached), the defendant is charged with violating: 18 U.S.C. §
28 1029(b)(2) - conspiracy to traffic in and use one or more unauthorized access devices.


                                                                                                  v. 7/10/2018
             Case 4:22-mj-70451-MAG Document 1 Filed 04/07/22 Page 2 of 12




 1         Description of Charges: 18 U.S.C. § 1029(b)(2) - conspiracy to traffic in and use one or more

 2 unauthorized access devices.

 3         The maximum penalties are as follows:

 4         Ten years’ imprisonment, $250,000 fine, three years supervised release, $100 special assessment,

 5 and forfeiture.

 6

 7 DATED: April 7, 2022                                Respectfully submitted,

 8                                                     STEPHANIE M. HINDS
                                                       United States Attorney
 9

10                                                       /s/ Thomas Newman
11
                                                       THOMAS NEWMAN
12                                                     Assistant United States Attorney

13

14

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                                                                                               v. 7/10/2018
TO: Clerk’s Office
     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
________________________________________

     APPLICATION FOR LEAVE
   TO FILE DOCUMENT UNDER SEAL

                                                                                           A) If pursuant to a prior Court Order:
********************************                                                           Docket Number of Case in Which Entered:___________________
                                                                                           Judge/Magistrate Judge:__________________________________
UNITED STATES OF AMERICA
                                                                                           Date Entered:___________________________________________
              -v.-
         -v.-                                          0-
MARIUS LACATIS                                         Docket Number

********************************
                                                                                           B) If a new application, the statute, regulation, or other legal basis that
SUBMITTED BY: Plaintiff____ Defendant____ DOJ ____
                                               ✔                                           authorizes filing under seal
Name:__________________________________________
       Adam R. Toporovsky
Firm Name:______________________________________
          USAO-EDNY                                                                        __________________________________________________________
                                                                                           Ongoing criminal investigation.
Address:_________________________________________
          271 Cadman Plaza East                                                            __________________________________________________________
________________________________________________
          Brooklyn, NY 11201
Phone Number:___________________________________
               718-254-6475                                                                ORDERED SEALED AND PLACED IN THE CLERK’S OFFICE,
E-Mail Address:___________________________________
               adam.toporovsky@usdoj.gov                                                   AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                                                                                           THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES               NO ✔ __
If yes, state description of document to be entered on docket sheet:                       DATED: Brooklyn                      , NEW YORK
                                                                                                   1/31/22
__________________________________________________                                         _________________________________________________________
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__________________________________________________                                         U.S. MAGISTRATE
                                                                                                        TE JUDGE

                                                                                           RECEIVED
                                                                                             C      IN CLERK’S OFFICE___________________________
                                                                                                                      1/31/22
                                                                                                                              DATE
MANDATORY CERTIFICATION OF SERVICE:
A.) ___ A copy of this application either has been or will be promptly served
                                                                          rved upon all parties to this action, B.) ___ Service is excused by 31 U.S.C. 3730(b), or by
                                                                                                                                                                         Case 4:22-mj-70451-MAG Document 1 Filed 04/07/22 Page 3 of 12




the following other statute or regulation:______; or C.) ____This
                                                          ✔               minal document submi
                                                                  is a criminal            submitted, and flight public safety, or security are significant concerns.
(Check one)

                           January 31, 2022
                           __________________                   ______________________________
                                                                       ___________________
                              DATE                                       SIGNATURE
         Case 4:22-mj-70451-MAG Document 1 Filed 04/07/22 Page 4 of 12




JMH:AT
F. #2021R01109

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X

UNITED STATES OF AMERICA                                 COMPLAINT

            - against -                                  (18 U.S.C. § 1029(b)(2))

MARIUS LACATIS,                                          22 MJ 94

                          Defendant.

---------------------------X

EASTERN DISTRICT OF NEW YORK, SS:

               JAMES LILLA, being duly sworn, deposes and states that he is a Detective with

the New York City Police Department (“NYPD”) and a Task Force Officer with the United

States Secret Service (“USSS”), duly appointed according to law and acting as such.

               In or about and between May 2020 and January 2022, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

MARIUS LACATIS, together with others, did knowingly and with intent to defraud, conspire to

traffic in and use on or more unauthorized access devices, in a matter affecting interstate

commerce, and by such conduct did obtain something of value during any one-year period, the

aggregated value of which is equal to or greater than $1,000.

               (Title 18, United States Code, Section 1029(b)(2))
             Case 4:22-mj-70451-MAG Document 1 Filed 04/07/22 Page 5 of 12

                                                                                                   2

                 The source of your deponent’s information and the grounds for his belief are as

follows: 1

                 1.     I am a Detective with the NYPD and a Task Force Officer with the USSS

and have been involved in the investigation of numerous cases involving skimming. I have

been investigating crimes involving skimming since 2013, I have handled or recovered over 300

skimming devices from automated teller machines (“ATMs”), and I have participated in

numerous skimming investigations. I am familiar with the facts and circumstances set forth

below from my participation in the investigation; my review of the investigative file, including

the defendant’s criminal history record; and from reports of other law enforcement officers

involved in the investigation.

                 2.     Since at least November 2021, the NYPD, along with the Department of

Homeland Security, Homeland Security Investigations (“DHS-HSI”) and the USSS has been

investigating a group of individuals believed to be engaged in a large-scale ATM skimming

conspiracy. In general, members of the conspiracy, including MARIUS LACATIS, have

participated in a scheme whereby they have installed hidden card-reading devices on ATMs

throughout Queens, New York, and in other counties in New York and both Pennsylvania and

New Jersey, in order to steal bank account information, then used that stolen information to

create bank cards, which they have used to unlawfully withdraw large amounts of cash from

various ATMs. Law enforcement has used various techniques as part of this investigation,

including surveillance, as well as obtaining and reviewing financial records and other records.

To date, based on their review of security footage, bank records, and other documentation, law



        1
               Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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                                                                                                  3

enforcement assesses that members of the conspiracy have stolen identity information from more

than one thousand victims and have fraudulently obtained more than $2 million as part of this

scheme.

BACKGROUND ON SKIMMING

               3.     Skimming is the act by which criminals, either alone or as part of a

skimming conspiracy, use illegally installed devices to steal certain user information, either from

point-of-sale terminals, ATMs, or other cardholder-reading devices. Because the criminal

conspiracy at issue here focuses on skimming from ATMs, I will focus on ATMs for the

purposes of this explanation.

               4.     Based on my training and experience, I know that criminals often conspire

to install and remove skimming devices from ATMs. Skimming ordinarily requires building a

device that is capable of covertly stealing card information from cards when inserted into the

ATM. The criminals must then covertly install the card-reader in the slot where an ATM is

inserted, and the criminals will also install a small camera to view unsuspecting victims typing in

their PIN numbers. After a period of time – ordinarily 12 to 24 hours – the criminals will

retrieve the skimming devices (card-reader and camera) and upload the information onto an

electronic drive for review. The video footage from the camera is used to match the stolen card

information with the PIN information that was entered.

               5.     Often, after stealing identification information from an ATM and

capturing user PINs, a skimming crew will then, using a specialized machine, upload the

necessary identification information onto individualized cards—access devices—encoded by the

criminals to extract the value of the bank information unlawfully obtained via the skimming

devices. For example, information stolen from “Person A” will be uploaded onto “Card A”, and
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                                                                                                     4

information stolen from “Person B” will be uploaded to “Card B”. The PIN number for each of

the stolen cards will be written on or taped to each individual card – that way, a member of the

conspiracy will be able to quickly and easily “cash out” at different ATMs – quickly insert a

card, type in the necessary PIN number, and withdraw large amounts of cash, and then use the

next card with stolen information.

               6.      Based on my training and experience, I know that skimming conspiracies

often include several individuals that play interrelated roles, including at least one individual that

understands how to build skimming devices, one individual that knows how to install and

remove skimming devices, and one individual that knows how to transfer stolen identity

information onto new cards for later use. Other coconspirators often play other roles, including

reviewing long hours of video footage to write down victims’ PIN numbers or driving other

members of the conspiracy to separate locations. Members of the conspiracy often must

coordinate and must constantly communicate, either due to emergencies, such as a discovered,

broken or unremovable skimming device, or simply to coordinate what coconspirators will be

playing what role on particular days or during particular hours – skimmers often “hit” many

ATMs, even without a short distance, over a short period of time, even within a few hours.

PROBABLE CAUSE FOR MARIUS LACATIS

               7.      Based on law enforcement surveillance, my review of still images from

surveillance videos, surveillance videos, my conversations with other law enforcement officers,

and documentary evidence, including banking records and other evidence, there is probable

cause to believe that LACATIS is participating in the skimming conspiracy along with at least

five other individuals that have been repeatedly captured on surveillance video installing and

removing skimming devices from ATMs.
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                                                                                                5

              8.      On many occasions, LACATIS has installed or removed skimming

devices within the Eastern District of New York while being captured by surveillance video.

For example, as seen in Figure-1 below, LACATIS was captured wearing a black jacket with the

word “ICON” prominently displayed, which law enforcement has observed him wearing on

many occasions, by surveillance video at a Capital One ATM located at 1425 Rockaway

Parkway, Brooklyn, New York 11236 on November 13, 2021; approximately 325 cards were

found compromised from that location between November 12, 2021, and November 13, 2021.

LACATIS can be seen in the ICON jacket in Figure-2 and Figure-3 as well, captured by ATM

surveillance at separate locations on November 13, 2021, and November 22, 2021, respectively.

In Figure-3, LACATIS can be seen using a tool that is ordinarily used by skimmers to install and

remove skimming devices from ATMs.




                                            Figure-1
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                                                                                                  6




                    Figure-2                                        Figure-3

              9.      On December 9, 2021, at a Capital One ATM located at 37-02 82nd

Street, Jackson Heights New York, 11372, LACATIS was captured by video installing a

skimming device that was later recovered by law enforcement. And on January 9, 2022, at a

Capital One ATM located at 41-60 Main Street, Flushing New York 11355, LACATIS was

captured by video both installing and removing a skimming device at different times.

              10.     On December 14, 2021, law enforcement observed LACATIS at a Bank of

America branch located at 136-01 Roosevelt Avenue, Flushing, New York 11354. Once

LACATIS parked, law enforcement observed LACATIS, while sitting inside the parked vehicle,

holding a camera device in his hand. Shortly thereafter, LACATIS entered the bank and

installed the skimming device, which was later recovered by law enforcement with the assistance

of Bank of America.

              11.     Based on law enforcement surveillance, my review of still images from

surveillance videos, surveillance videos, my conversations with other law enforcement officers,

and documentary evidence, including banking records and other evidence, there is probable

cause to believe that LACATIS is not acting independently, and instead, LACATIS is conspiring
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                                                                                                7

with others to install and remove skimming machines. For example, LACATIS installed and

removed skimming devices that were removed or installed by other members of the conspiracy.

For example, an unidentified coconspirator installed a skimming device on November 11, 2021

at an ATM located at 470 Park Avenue South, New York, New York 10016. The next day, on

November 12, 2021, LACATIS removed that skimming device. LACATIS has also met with

coconspirators that have been captured by surveillance video installing and removing skimming

devices while LACATIS was in the process of attempting to install a skimming device.

              WHEREFORE, your deponentt respectfully requests that the defendant M
                                                                                 MARIUS

LACATIS, be dealt with according to law.



                                           JAMES LILLA
                                           Task Force Officer, United States Secret S
                                                                                    Service

Sworn to before me this
__ day of January, 2022
31

____________________________________________
    __
     ___
      __________
              ___
              ___________________________
THE HONORA
    HONORABLE
           ABL LE CHERYL L. POLLAK
UNITED  STATES
     ED STATEE CHIEF MAGISTRATE JUDG
            TE
            TES                     JUDGE
EASTERN DISTRICT OF NEW YORK
                        Case 4:22-mj-70451-MAG Document 1 Filed 04/07/22 Page 11 of 12
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                  __________   Districtofof
                                                                         New  York
                                                                            __________

                  United States of America
                             v.                                     )
                         Marius Lacatis                             )        Case No.0-
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Marius Lacatis                                                                                      ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information        u Superseding Information             ✔ Complaint
                                                                                                                      u
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Violation of Title 18, United States Code Section 1029(b)(2) (conspiracy to traffic in and use one or more unauthorized
  access devices)




Date:         01/31/2022
                                                                                           Issuing officer’s signature

City and state:       Brooklyn, New York                                              Hon. Cheryl L. Pollak, U.S.M.J.
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
                         Case 4:22-mj-70451-MAG Document 1 Filed 04/07/22 Page 12 of 12
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
